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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

In Re:
                                                  Case 12-11393-WHD
KENNETH L. GREEN and
CYNTHIA R. GREEN,                                 Ch. 11

         Debtors.


                                    NOTICE OF HEARING

         PLEASE TAKE NOTICE THAT Creditor SummitBridge National Investments V,

LLC (“SummitBridge”) filed its Motion for Derivative Standing to Bring Avoidance Action

[Doc. 128] (the “Motion”).

         A copy of the Motion is on file with the Office of the Bankruptcy Clerk, Lewis R.

Morgan Federal Building and United States Courthouse, 18 Greenville Street, Newnan, Georgia

30263 (the “Clerk’s Office”) and can be reviewed during normal business hours, or copies may

be requested from the Clerk or reviewed online at http://ecf.gamb.uscourts.gov (registered users)

or at http://pacer.psc.uscourts.gov (unregistered users).

         PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion

on December 18, 2019, at 2:00 p.m. at the Lewis R. Morgan Federal Building and United

States Courthouse, 18 Greenville Street, Newnan, Georgia 30263, 2nd Floor Courtroom.

         YOUR RIGHTS MAY BE AFFECTED. You should read these papers carefully and

discuss them with your attorney, if you have one in this bankruptcy case. If you do not have an

attorney, you may wish to consult one.

         If you do not want the Court to grant the relief sought or if you want the Court to

consider your views on the Motion, then you and/or your attorney must attend the hearing




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scheduled above. You may also file a written response with the Clerk at the address stated

below, but you are not required to do so. If you file a written response, it must be received by

the court not later than December 4, 2019 and you must attach a certificate stating when, how,

and on whom you served the response. The address of the Clerk’s office is: Lewis R. Morgan

Federal Building and United States Courthouse, 18 Greenville Street, Newnan, Georgia 30263.

        Respectfully submitted this 7th day of November, 2019.


                                                   /s/ Michael R. Wing
                                                   Michael R. Wing
                                                   Georgia Bar Number 770463
                                                   Austin B. Alexander
                                                   Georgia Bar Number 926059


BALCH & BINGHAM, LLP
30 Ivan Allen Jr. Boulevard, N.W.
Suite 700
Atlanta, Georgia 30308
Telephone: (404) 261-6020
mwing@balch.com
aalexander@balch.com




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 7, 2019, a true and correct copy of SummitBridge

National Investment V, LLC’s Notice of Hearing was filed with the Court using the CM/ECF

system and served upon the following via First Class United States Mail:

            Freeport Title & Guaranty, Inc. as Trustee for the Troup County Three Trust
                              c/o Mike Florence, its Registered Agent
                            5775 Glenridge Drive, Building B Suite 550,
                                    Atlanta, GA, 30328, USA

                                         Kenneth L. Green
                                        415 Ashford Circle
                                       Lagrange, GA 30240

                                         Cynthia R. Green
                                        415 Ashford Circle
                                       Lagrange, GA 30240


                                                     /s/ Austin B. Alexander
                                                     Austin B. Alexander
                                                     Georgia Bar Number 926059




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